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                   EXHIBIT A
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STATE OF MINNESOTA                                                            DISTRICT COURT

COUNTY OF HENNEPIN                                              FOURTH JUDICIAL DISTRICT

                                                                           Case Type: Other Civil

 State of Minnesota by its Attorney General,                Court File No. ___________________
 Keith Ellison,

               Plaintiff,                                                           COMPLAINT

        vs.

 Fleet Farm LLC (f/k/a Mills Fleet Farm LLC),
 Fleet Farm Group LLC (f/k/a Mills Fleet Farm
 Group LLC), and Fleet Farm Wholesale Supply
 Co. LLC (f/k/a Fleet Wholesale Supply Co.
 LLC),

               Defendants.


       The State of Minnesota, by its Attorney General, Keith Ellison, brings this civil action to

protect the public from Fleet Farm’s illegal and negligent sale of firearms to straw purchasers,

through which Fleet Farm aided and abetted criminals and contributed to gun trafficking in

Minnesota.

                                      INTRODUCTION

       1.     As gun trafficking and gun violence surged in Minnesota during the pandemic,

firearms dealer Fleet Farm repeatedly sold handguns to straw purchasers—people who illegally

purchase guns for others who cannot legally obtain them. Fleet Farm sold at least 37 firearms to

two straw purchasers over the course of 16 months.

       2.     One of these guns was fired in a large-scale shootout in a St. Paul bar on October 10,

2021, that ended in the death of a 27-year-old woman and multiple injured and traumatized

bystanders. Another gun Fleet Farm sold to this same straw purchaser was found by a six-year-old

boy in front of his family’s house on September 6, 2021, where the gun was likely discarded by
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suspects fleeing from another public shooting incident. At least five more firearms that Fleet Farm

sold to straw purchasers have been recovered from people who are not permitted to have them.

Most of the guns Fleet Farm sold to straw purchasers remain unrecovered, and these guns continue

to pose an ongoing threat to the health and safety of Minnesotans.

       3.      These straw purchasers used Minnesota firearms dealers to fuel their separate yet

equally pernicious gun trafficking schemes.          These straw purchasers secured sought-after

handguns from careless dealers like Fleet Farm and then resold those weapons to known criminals

and into the black market. Fleet Farm stood by and accepted the straw purchasers’ money as they

bought more and more weapons from Fleet Farm stores.

       4.      Fleet Farm repeatedly sold multiple handguns to straw purchasers in single

transactions or in multiple sales over very short periods of time. By turning a blind eye to the

flagrantly suspicious circumstances of the purchases made by straw purchasers, Fleet Farm

violated federal and state laws and regulations. Because Fleet Farm knew or consciously avoided

knowing that these individuals were straw purchasing firearms, Fleet Farm aided and abetted their

illegal and criminal conduct.

       5.      Some of the harm resulting from Fleet Farm’s negligence is already known. In

addition to the gun fired in the October 10, 2021, St. Paul shootout and the gun found by a young

boy in his front yard on September 6, 2021, several more guns sold by Fleet Farm to these straw

purchasers ended up at crime scenes and were recovered from persons legally prohibited from

possessing firearms. Still, most guns remain unaccounted for. Fleet Farm’s negligence has

contributed, and will continue to contribute, to the irreparable harm to the health and well-being

of Minnesotans caused by the ongoing gun trafficking crisis.




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       6.      The State of Minnesota, by its Attorney General, Keith Ellison, brings this civil

enforcement action to stop Fleet Farm’s unlawful practices, enforce Minnesota law, and hold Fleet

Farm accountable for the harm its conduct has caused Minnesota.

                                            PARTIES

       7.      Keith Ellison, Attorney General of the State of Minnesota, is authorized under

Minnesota Statutes chapter 8 and has common law authority, including parens patriae authority,

to bring this action to enforce Minnesota’s laws, to vindicate the State’s sovereign and quasi-

sovereign interests, and to remediate all harm arising out of—and provide full relief for—

violations of Minnesota’s laws.

       8.      Defendant Fleet Farm LLC is a Delaware limited liability company with its

principal place of business in Appleton, Wisconsin. Fleet Farm LLC is registered as a foreign

limited liability company in Minnesota with a registered office address of 1010 Dale Street North,

St. Paul, Minnesota 55117. According to federal court filings, Fleet Farm LLC is wholly owned

by Fleet Farm Group, LLC. In turn, Fleet Farm Group, LLC is wholly owned by Fleet Farm

Guarantor LLC, which is wholly owned by Fleet Farm Intermediate Holdco LLC, which is wholly

owned by Fleet Farm Holdco LLC, which is majority owned, indirectly by one or more subsidiaries

of KKR & Co. Inc.—a publicly traded private equity and investment banking firm. Fleet Farm

LLC was formerly known as Mills Fleet Farm LLC until its name was changed in February 2019.

       9.      Defendant Fleet Farm Group LLC is a Delaware limited liability company with its

principal place of business in Appleton, Wisconsin. Fleet Farm Group LLC is registered as a

foreign limited liability company in Minnesota with a registered office address of 1010 Dale Street

North, St. Paul, Minnesota 55117. Fleet Farm Group LLC owns Fleet Farm LLC and, in

Minnesota tax court records, Fleet Farm Group LLC held itself out as the tenant at the property

addresses of the Fleet Farm stores in Brooklyn Park, Cambridge, Owatonna, Mankato,


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Hermantown, Blaine, Baxter, Willmar, Alexandria, Lakeville, Rochester, Oakdale, and Winona.

According to federal court filings, Fleet Farm Group LLC is wholly owned by Fleet Farm

Guarantor LLC, which is wholly owned by Fleet Farm Intermediate Holdco LLC, which is wholly

owned by Fleet Farm Holdco LLC, which is majority owned, indirectly, by investment vehicles

managed by one or more subsidiaries of KKR & Co. Inc.—a publicly traded private equity and

investment banking firm. Fleet Farm Group LLC was formerly known as Mills Fleet Farm Group

LLC until its name was changed in January 2019.

        10.    Defendant Fleet Farm Wholesale Supply Co. LLC is a Delaware limited liability

company with its principal place of business in Appleton, Wisconsin. Fleet Farm Wholesale

Supply Co. LLC is registered as a foreign limited liability company in Minnesota with a registered

office address of 1010 Dale Street North, St. Paul, Minnesota 55117.

        11.    Fleet Farm Wholesale Supply Co. LLC is the named holder of all of Fleet Farm’s

federal firearms licenses in Minnesota. Fleet Farm Wholesale Supply Co. LLC was formerly

known as Fleet Wholesale Supply Co. LLC until its name was changed in February 2019.

       12.     Fleet Farm LLC, Fleet Farm Group LLC, and Fleet Farm Wholesale Supply Co.

LLC will be collectively referred to as “Fleet Farm” or “Defendants” in this Complaint.

       13.     Fleet Farm store locations in Minnesota hold the following FFL licenses

authorizing their sales of firearms:

 Store City                    Store Street Address                    FFL Number
 Alexandria                    310 50th Avenue West                    3-41-041-01-4F-08857
 Baxter                        14114 Dellwood Drive                    3-41-035-01-3H-19223
 Blaine                        10250 Lexington Avenue Northeast        3-41-003-01-3G-02607
 Brooklyn Park                 8400 Lakeland Avenue North              3-41-053-01-4C-20315
 Cambridge                     2324 Third Avenue Northeast             3-41-059-01-2H-04306
 Carver                        1935 Levi Griffin Road                  3-41-091-01-4E-03811
 Fergus Falls                  2002 West Lincoln Avenue                3-41-111-01-4F-08858
 Hastings                      875 General Sieben Drive                3-41-037-01-5H-06640
 Hermantown                    4165 Loberg Avenue                      3-41-137-01-2G-05118


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 Store City                    Store Street Address                     FFL Number
 Lakeville                     17070 Kenrick Avenue                     3-41-037-01-3F-21947
 Mankato                       1850 Premier Drive                       3-41-013-01-4D-04758
 Monticello                    320 Chelsea Road                         3-41-171-01-3G-05380
 Oakdale                       5635 Hadley Avenue North                 3-41-163-01-4L-34573
 Owatonna                      2121 West Bridge Street                  3-41-147-01-5A-01147
 Rochester                     4891 Maine Avenue Southeast              3-41-109-01-4A-16824
 Waite Park                    2630 Division Street                     3-41-145-01-4K-15235
 Winona                        920 East Highway 61                      3-41-169-01-4F-22570

                                 JURISDICTION AND VENUE

       14.      This Court has subject matter jurisdiction over this action pursuant to Minnesota

Statutes section 8.01 and common law, including the State’s parens patriae authority.

       15.      This Court has personal jurisdiction over Defendants because Defendants own and

use property in Minnesota, have purposefully and knowingly transacted business in Minnesota and

with Minnesota residents, and have committed acts in Minnesota causing injury to the Minnesota

public and in violation of Minnesota law.

       16.      Venue in Hennepin County is proper under Minnesota Statutes section 542.09

because the cause of action arose, in part, in Hennepin County. Defendants have done business in

Hennepin County, and Defendants’ unlawful acts have affected Hennepin County residents,

among others.

                                  FACTUAL ALLEGATIONS

I.     AS LICENSED FEDERAL FIREARMS DEALERS, FLEET FARM STORES HAVE A DUTY
       UNDER MINNESOTA AND FEDERAL LAW TO PREVENT UNLAWFUL GUN PURCHASES.

       17.      As licensed firearms dealers, Defendants have each violated, assisted the violation

of, and aided and abetted violations of firearm laws and regulations.

       18.      Federal laws and regulations closely regulate commercial sales of firearms. The

federal Gun Control Act of 1968 (18 U.S.C. §§ 921–931) created a nationwide licensing scheme

for firearm dealers. The Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”) is the


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federal agency charged with enforcing these dealer-license provisions. Under the federal Gun

Control Act, persons wishing to engage in the manufacturing, importing, or dealing in firearms

must first obtain a license and become a federal firearms licensee (“FFL”), as Fleet Farm retail

stores have done. A person is categorically prohibited from “engag[ing] in the business of

importing, manufacturing, or dealing in firearms” without a federal firearms license. 18 U.S.C.

§§ 922(a)(1), 923(a).

       19.     Federal firearms laws carry a purpose: to prevent crime by keeping guns out of the

hands of certain persons who have a heightened risk of misusing firearms, such as minors, persons

with felony convictions, and domestic abusers. See generally 18 U.S.C. § 921 et seq. The

Minnesota Gun Control Act also reflects this purpose, as it establishes categories of persons who

are prohibited from possessing firearms (Minn. Stat. § 624.713) and requires purchasers to obtain

a Minnesota permit—including a separate state-mandated background check—before buying a

pistol or semiautomatic military-style assault weapon (“SAMSAW”) from a firearms dealer

(Minn. Stat. § 624.7131).

       20.     Congress designed federal law to achieve this aim by channeling firearms

commerce through firearms dealers. Regulating the distribution of firearms is intended to prevent

trafficking and reduce access to firearms by persons prohibited from possessing them. Gun dealers

and manufacturers are trained on how to spot traffickers and straw purchasers through multiple

publications and programs sponsored by the ATF and the gun industry, including the “Don’t Lie

for the Other Guy” program, newsletters, reference guides, regulatory updates, and ATF seminars.

       21.     Before transferring a firearm to any person who is not a licensed dealer, all firearms

dealers, including Fleet Farm, must conduct a background check, examine the individual’s




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identification, and record the transaction on a firearms transaction record (“ATF Form 4473”). See

18 U.S.C. § 922(t)(1), 27 C.F.R. §§ 478.102, 478.124(a).

       22.     Before completing a purchase of a firearm from all firearms dealers, including Fleet

Farm, a buyer must fill out ATF Form 4473, which asks the following question with the following

bolded warning:

               Are you the actual transferee/buyer of the firearm(s) listed on this
               form? Warning: You are not the actual transferee/buyer if you
               are acquiring the firearm(s) on behalf of another person. If you
               are not the actual transferee/buyer, the dealer cannot transfer
               the firearm(s) to you.

This warning puts the buyer on notice: the buyer is prohibited from buying a firearm on someone

else’s behalf while falsely claiming that the firearm is for the buyer—otherwise known as a straw

purchase. On ATF Form 4473, the buyer must certify that their answers on the form are true,

correct, and complete. The buyer violates federal law by filling out the form inaccurately.

       23.     Congress strengthened federal prohibitions on straw purchasing by passing the

Bipartisan Safer Communities Act in June 2022, which explicitly criminalizes straw purchasing in

which any person knowingly purchases, or conspires to purchase, a firearm at the request or

demand of another person, knowing or having reasonable cause to believe that the other person (or

the ultimate end user) is ineligible to possess the firearm or intends to use the firearm to commit a

felony, terrorism, or drug trafficking. See 18 U.S.C. § 932(b).

       24.     Minnesota law echoes this prohibition on straw purchasing. In 2015, the Minnesota

Gun Control Act was amended to include a new section explicitly criminalizing straw purchases:

               Any person who purchases or otherwise obtains a firearm on behalf
               of or for transfer to a person known to be ineligible to possess or
               purchase a firearm pursuant to federal or state law is guilty of a gross
               misdemeanor.




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Minn. Stat. § 624.7133; see also Minn. Stat. § 624.7132, subd. 15(a)(4) (providing that a person

who “makes a false statement in order to become a transferee of a pistol or [SAMSAW] knowing

or having reason to know the statement is false” is guilty of a gross misdemeanor).

       25.      Straw purchasers commonly falsely certify on ATF Form 4473 that they are

purchasing firearms for themselves. In addition to the information provided by purchasers on the

form, there are red flags that indicate a straw purchase to firearms dealers, including the following:

            Multiple firearm purchases in a single transaction or separate one-gun
             transactions in short periods of time, particularly of multiple firearms of similar
             make, model, and caliber;

            Multiple handgun purchases, particularly 9mm caliber handguns as these are
             the most frequently recovered crime guns;

            Purchasing firearms with cash;

            The buyer is accompanied to the store by others who leave before the
             transaction or do not purchase firearms themselves;

            The buyer uses phone calls, text messages, or other means to communicate with
             others about which firearms to purchase;

            The buyer does not keep the firearms in their residence for their own use; and

            A short “time to crime”—the time between the purchase of the firearm and the
             recovery of the firearm by police in connection with a crime. The ATF has
             noted that the recovery of a crime gun within three years of its initial purchase
             “is considered a short time-to-crime and a significant trafficking indicator” that
             “suggests illegal diversion or criminal intent associated with the retail purchase
             from the FFL.” 1

       26.      Firearms dealers, including Fleet Farm, can refuse to sell a firearm to any buyer for

nearly any reason, and a firearms dealer is prohibited from completing the sale if the dealer knows

or has reason to know that the ATF Form 4473 is inaccurate. Firearms dealers must also certify


1
 Bureau of Alcohol, Tobacco, Firearms, and Explosives, Inspections of Firearms Dealers by the
Bureau of Alcohol, Tobacco, Firearms, and Explosives (July 2004) (quotation omitted), available
at https://perma.cc/B6AH-3FG6.


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deter handgun trafficking, federal law requires a firearms dealer to report all transactions in which

an unlicensed buyer purchases two or more handguns within five business days on ATF Form

3310.4. See 18 U.S.C. § 923(g)(3)(A); 27 C.F.R. § 478.126a. Firearms dealers must transmit one

copy of Form 3310.4 to the ATF, send another copy to a local law enforcement official (Chief

Local Law Enforcement Official or “CLEO”) designated to receive the form, 2 and then retain one

copy of the ATF 3310.4 form and attach it to the ATF Form 4473 related to the firearms sale. See

18 U.S.C. § 923(g)(3)(A); 27 C.F.R. § 478.126a.

       31.     Federal rules require all firearms dealers to keep a record of all transactions with

unlicensed persons in an acquisition and disposition book. 27 C.F.R. §§ 478.123(b), 478.125(e).

A firearms dealer violates federal law by knowingly making false statements or

misrepresentations, failing to make appropriate entries in, or failing to properly maintain,

acquisition and disposition records, firearms transaction records, or reports of multiple sales of

handguns. 18 U.S.C. §§ 922(m), 924(a)(3); see also 18 U.S.C. § 924(a)(1)(A).

       32.     Federal law also enlists dealers and manufacturers in working to detect illegal

transactions and trafficking after a firearm is used unlawfully. When a law enforcement agency

recovers a firearm at a crime scene or in the course of a criminal investigation, the agency may

request a trace report from ATF’s National Tracing Center. The ATF represents that “[f]irearms

tracing is only conducted at the request of a law enforcement agency engaged in a bona fide

criminal investigation where a firearm has been used or is suspected to have been used in a crime.” 3



2
  The CLEO must destroy the ATF Form 3310.4 within 20 days of receipt and certify in writing to
the ATF every six months that these forms were not disclosed and were properly destroyed. See
18 U.S.C. § 923(g)(3)(B).
3
   Bureau of Alcohol, Tobacco, Firearms, and Explosvies, Firearms Trace Data – 2019,
https://perma.cc/P8P3-BGYS.



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The National Tracing Center tracks the path of the firearm from its manufacturer through the

distribution chain to the last retail sale transaction between a firearms dealer and purchaser.

Because firearms dealers must provide information from their records about crime guns that the

firearms dealer manufactured, distributed, or sold, see 18 U.S.C. § 923(g)(7); 27 C.F.R. § 478.25a,

firearms dealers are on notice of which transactions, types of guns, and purchasers are potentially

involved in criminal activity.

         33.     Firearms dealers are required to know the federal firearms laws and regulations.

ATF agents review the applicable laws and regulations with firearms dealers when they initially

receive their license and during ATF audits. At the conclusion of an audit, the ATF requires

firearms dealers to certify acknowledgement of federal laws and regulations.                      The

acknowledgement form includes certification that the firearms dealer has reviewed laws and

regulations regarding all of the following: (i) completing and maintaining firearm transaction

records; (ii) conducting transfers between firearms dealers; (iii) engaging in the business of

firearms dealing; and (iv) straw purchasing.

II.      FLEET FARM KNEW OR SHOULD HAVE KNOWN IT WAS SELLING TO STRAW
         PURCHASERS WHO TRAFFICKED DOZENS OF FIREARMS, SOME OF WHICH HAVE BEEN
         USED TO INJURE MINNESOTANS AND MOST OF WHICH REMAIN UNRECOVERED.

         A.      Fleet Farm Is Owned by a Private Equity Firm and Operates Several Stores
                 in Minnesota That Sell Firearms.

         34.     Fleet Farm is a retail store chain with 17 locations 4 in Minnesota that sell firearms

and ammunition to the public. Fleet Farm is headquartered in Wisconsin and operates stores

throughout the upper Midwest. Fleet Farm was founded by Minnesota natives Stewart Mills Sr.,

and his two sons as Fleet Wholesale Supply in 1955 in Marshfield, Wisconsin, and soon changed

its name to Mills Fleet Farm as the chain expanded into Minnesota and throughout the upper


4
    Fleet Farm recently opened its 17th Minnesota store in Hastings on September 9, 2022.


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Midwest. Mills Fleet Farm was family owned until 2016, when it was sold to a private equity firm

for a reported $1.2 billion. 5 Fleet Farm dropped the “Mills” family name entirely in 2018. 6

       35.     Fleet Farm stores sell handguns, rifles, and shotguns, and also sell many varieties

of ammunition for these firearms. On its website, Fleet Farm lists 235 different handgun models

for sale, including 130 different models of semi-automatic pistols and 125 different 9mm handgun

models.

       36.     As alleged above, every Fleet Farm retail store location in Minnesota holds an FFL

license authorizing Fleet Farm’s sale of firearms. Fleet Farm has failed to meet its duties and

obligations under federal and state law and regulations by selling numerous firearms to straw

purchasers. In doing so, Fleet Farm has disregarded well known and blatant warning signs of straw

purchasing, including the following: (1) multiple purchases of similar handguns (especially 9mm

caliber); (2) buying sprees over concentrated periods of time; and (3) staggered visits to different

Fleet Farm locations to elude multiple-sale reporting requirements. These are all hallmark “red

flags” of illegal gun trafficking by straw purchasers. Nevertheless, Fleet Farm continued to engage

in straw purchase transactions even though Fleet Farm knew, or should have known, based on the

circumstances of these transactions and Fleet Farm’s training, that these customers were not

making bona fide purchases for themselves. In doing so, Fleet Farm has profited from the unlawful

sale of firearms to sham purchasers who then transferred these weapons to criminals and other

prohibited and dangerous persons.




5
   Pitchbook, KKR closes challenging $1.2B Mills Fleet Farm deal (Mar. 1, 2016),
https://perma.cc/3ZWM-XS7F.
6
 Archer Parquette, The Real Story Behind Mills Fleet Farm and Blain’s Farm & Fleet, Milwaukee
Magazine (July 19, 2022), https://perma.cc/M2FB-DFVL


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       B.      Fleet Farm Sold 24 Firearms to Straw Purchaser Jerome Horton During a
               Four-Month Period in 2021, and These Firearms Caused Harm in the Wrong
               Hands.

       37.     From June 2021 through October 2021, Jerome Horton purchased 33 firearms from

federally licensed firearm dealers in the Twin Cities area. Affidavit of Special Agent Kylie

Williamson, Dkt. No. 1-1, U.S. v. Horton, Case No. 22-CR-00006 (D. Minn. Oct. 18, 2021).

Horton resold several of the firearms he purchased to different people, and further claimed that

some of his other purchased firearms were stolen from his stash location near a St. Paul strip club.

Id. Horton also tried to sell semiautomatic handguns with high-capacity magazines that could fit

more than 15 rounds of ammunition in a clip. Plea Agreement at 2, Dkt. No. 23, United States v.

Horton, Case No. 22-CR-00006 (D. Minn. Mar. 3, 2022).

       38.     Fleet Farm sold 24 firearms to Horton in the four-month span between mid-June

2021 and mid-October 2021. Fleet Farm’s sales to Horton are identified in the chart below, with

multiple firearm purchases on the same day highlighted:

                                       Straw
                                                     Firearm Make, Model,
     Store           Location         Purchase                                    Serial Number
                                                            Caliber
                                        Date
 Fleet Farm       Brooklyn Park       6/15/2021    Taurus G2C 9mm                      1C020445
 Fleet Farm       Brooklyn Park        7/4/2021    Ruger Security 9 9mm                 38463707
 Fleet Farm       Brooklyn Park        7/7/2021    Glock 19 9mm                        BTNX619
 Fleet Farm       Oakdale             7/10/2021    Glock G43X 9mm                      BTTU573
 Fleet Farm       Blaine              7/23/2021    Beretta APX 9mm                     A152030X
 Fleet Farm       Oakdale             7/24/2021    FNH 503 9mm                         CV016470
                                                   Springfield Armory XDS
 Fleet Farm       Oakdale             7/24/2021    9mm                                BA456304
 Fleet Farm       Oakdale             7/26/2021    Glock 26 9mm                        AFVB754
 Fleet Farm       Blaine              7/27/2021    Glock 43X 9mm                      BTTU0778
 Fleet Farm       Blaine              7/27/2021    Stoeger STR-9C 9mm             T642921S02199
 Fleet Farm       Blaine              7/31/2021    Glock 45 9mm                        BSTE309
 Fleet Farm       Blaine              7/31/2021    Mossberg MC2C 9mm                  017520MC
 Fleet Farm       Blaine              7/31/2021    Ruger EC95 9mm                      45955269
 Fleet Farm       Blaine              8/14/2021    Glock 19X 9mm                       BUCB186
 Fleet Farm       Brooklyn Park       8/20/2021    Glock G19 9mm                       BSXE226



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       40.     The sheer volume of Horton’s purchases put Fleet Farm on notice that he was not

making bona fide purchases for himself but was instead straw purchasing firearms for others.

Horton’s purchases were also highly suspicious in additional ways.

       41.     On five occasions, Fleet Farm sold Horton multiple handguns at once, and Fleet

Farm also made multiple sales to Horton at the same location within five business days on several

occasions. These sales required Fleet Farm to submit additional paperwork to ATF because such

conduct is an indicator of unlawful gun trafficking. The guns purchased were also nearly all the

same caliber (9mm) of handgun—another red flag of straw purchasing. Horton also staggered

purchasing single handguns within days or weeks of each other and from different Fleet Farm

locations.

       42.     Furthermore, the affidavit in support of the federal charges against Horton indicate

that the ATF reviewed Fleet Farm surveillance video showing Horton “using the camera feature

on his [phone] to either take photographs or video” in connection with Horton’s October 17, 2021,

purchase of a Glock 26 9mm handgun at Fleet Farm’s Oakdale store. Affidavit of Special Agent

Kylie Williamson at ¶ 14, Dkt. No. 1-1, U.S. v. Horton, Case No. 22-CR-00006 (D. Minn. Oct. 18,

2021). The ATF agent testified that in her training and experience, this is a common indication of

straw purchasing, as the straw purchaser wants to show available firearms to the third party

intended recipient of the firearm without the intended recipient having to appear on surveillance

cameras. Id.

       43.     These highly suspicious behaviors put Fleet Farm on notice that Horton was

engaged in straw purchasing and unlawful trafficking of firearms, and that he was attempting to

evade detection by authorities. Nevertheless, Fleet Farm continued to sell guns to Horton anyway.




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       44.     After Fleet Farm sold guns to Horton, Horton trafficked these guns to criminals and

prohibited persons. Horton transferred six of these handguns to Gabriel Young-Duncan, who

would then keep the firearms or further transfer them to other persons. See Indictment, Dkt. No.

1, U.S. v. Gabriel Lee Young-Duncan, Case No. 22-CR-00004 (D. Minn. Jan. 18, 2022). Young-

Duncan was charged on January 18, 2022, and ultimately pleaded guilty in federal court to

conspiracy to make false statements in the purchase of a firearm for his participation in Horton’s

straw purchasing scheme. See id. Young-Duncan is scheduled to be sentenced October 5, 2022.

       45.     The guns Fleet Farm sold to Horton have caused harm to Minnesotans. On

August 13, 2021, the Glock 43X 9mm pistol that Fleet Farm sold to Horton on July 10, 2021, serial

number BTTU573—which Horton then transferred to Young-Duncan—was allegedly discharged

in public in the middle of Minneapolis and found by police in the possession of an individual

without a permit to carry a handgun. See Complaint, State v. Douglas Jerome Sutton, No. 27-CR-

21-15330 (Henn. Cty. Dist. Ct. Aug. 16, 2021). The individual told police he found the gun in an

alleyway and shot it to see if it was operational so he could sell it. This incident happened only 34

days after Fleet Farm sold the gun to Horton. Fleet Farm sold 11 more handguns to Horton after

Douglas Sutton’s arrest.

       46.     On September 6, 2021, the Glock 19 9mm pistol that Fleet Farm sold to Horton on

July 7, 2021, serial number BTNX619, was found by a six-year-old boy in the front yard of his

family’s house in south Minneapolis. After finding the gun, the six-year-old boy told his father

that the gun “didn’t look like a fake one,” prompting the father to use a basket and a blue frisbee

to cover up the gun and its ammunition magazine and then contact the police. The gun was likely

discarded there by suspects involved in an earlier Minneapolis public shooting incident who then

raced through the neighborhood as they fled from the police. The gun was recovered by police




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only 61 days after Fleet Farm sold the gun to Horton. Fleet Farm sold seven more firearms to

Horton after this gun was found.

       47.     On September 26, 2021, the Glock 26 9mm pistol that Fleet Farm sold to Horton

on July 26, 2021, serial number AFVB754—which Horton then transferred to Young-Duncan—

was found by police in the possession of an individual without a permit to carry a handgun, Charles

Toy. See Complaint, State v. Charles Curtis Toy, No. 27-CR-22-12594 (Henn. Cty. Dist. Ct.

June 29, 2022). The Glock handgun was found fully loaded with an extended 28-round magazine.

Id. Police recovered this weapon 62 days after Fleet Farm had sold the gun to Horton. Fleet Farm

sold two handguns to Horton on the day of Charles Toy’s arrest and then sold Horton two more

handguns afterward in October 2021.

       48.     On September 30, 2021, the Springfield Armory XDS 9mm pistol Fleet Farm sold

to Horton on July 24, 2021, serial number BA456304, was found by police in the possession of a

prohibited person with prior convictions for first-degree aggravated robbery and for aiding and

abetting first-degree burglary. See Complaint, State v. Shamar Jamareus Scott, No. 27-CR-21-

18321 (Henn. Cty. Dist. Ct. Oct. 1, 2021). The individual threw the firearm as he was fleeing from

the police. Police recovered this weapon 68 days after Fleet Farm had sold the gun to Horton.

Fleet Farm sold two more firearms to Horton after police recovered this gun.

       49.     On October 10, 2021, the Mossberg MC2C 9mm semiautomatic pistol that Fleet

Farm sold to Horton on July 31, 2021, serial number 017520MC—which Horton then transferred

to Young-Duncan—was fired in the Seventh Street Truck Park shooting in St. Paul. This pistol

was fired by Devondre Trevon Phillips, who has a prior felony conviction for aggravated first-

degree robbery, which makes him ineligible to possess firearms or ammunition. Affidavit of

Special Agent Kylie Williamson, Dkt. No. 1-1, U.S. v. Horton, Case No. 22-CR-00006 (D. Minn.




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Oct. 18, 2021); see also Amended Complaint, State v. Devondre Trevon Phillips, No. 62-CR-21-

5805 (Ramsey Cty. Dist. Ct. May 26, 2022). Phillips allegedly fired the pistol in this chaotic

shootout at a St. Paul area bar where the exchange of gunfire between three different gunmen

injured 14 people and killed a 27-year-old woman when a bullet penetrated her left lung and heart.

Fleet Farm sold two more handguns to Horton after the Truck Park shooting.

       50.     Jerome Horton was charged by information on January 18, 2022, and ultimately

pleaded guilty in federal court to one count of making false statements in the course of purchasing

a firearm. Plea Agreement at 2, Dkt. No. 23, United States v. Horton, Case No. 22-CR-00006 (D.

Minn. March 3, 2022). In his March 3, 2022, plea agreement, Horton admitted to falsely

representing himself as the end purchaser in connection with the purchase of all 33 firearms he

bought in the Twin Cities area from June 2021 through October 2021. Id. Horton is scheduled to

be sentenced on October 22, 2022.

       51.     Even after the federal criminal actions against Horton and Young-Duncan, most of

the guns Fleet Farm sold to Horton are still not recovered by law enforcement, are unaccounted

for, and pose an ongoing danger to the health and safety of Minnesotans. For instance, on July 26,

2022, the Taurus G2C 9mm pistol that Fleet Farm sold to Horton on June 15, 2021, serial number

1C020445, was recovered by police from a person prohibited from possessing firearms due to prior

convictions for first-degree assault and aggravated robbery.      See Complaint, State v. Jorge

Olivares Jr., No. 27-CR-22-14776 (Henn. Cty. Dist. Ct. July 28, 2022).

       52.     By engaging in the sale and transfer of firearms to Horton under the circumstances

described above, Fleet Farm knowingly violated, and/or aided and abetted Horton in the violation

of numerous laws and regulations, including 18 U.S.C. § 922(a)(1) (engaging in the business of

dealing in firearms without a license); 18 U.S.C. § 922(a)(6) (knowingly making a false statement




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in connection with the acquisition of a firearm); 18 U.S.C. § 922(m) (knowingly making false

entries in records required to be kept by dealer); 18 U.S.C. § 923(a) (engaging in the business of

dealing firearms without a license); 18 U.S.C. § 924(a)(1)(A) (knowingly making a false statement

or representation concerning information to be kept in the records of an FFL); 18 U.S.C.

§ 924(a)(1)(D) (willfully violating the federal Gun Control Act); 18 U.S.C. § 924(a)(3) (licensee

knowingly making a false statement or representation concerning information to be kept in records

of an FFL); 27 C.F.R. § 478.21(a) (failing to ensure completion of forms in accordance with form

instructions); 27 C.F.R. § 478.124(c)(1) and (c)(5) (failing to ensure accurate completion of ATF

Form 4473 before the transfer of a firearm); Minn. Stat. § 624.7132, subd. 15(a)(2) (transferring a

pistol or SAMSAW to a person the transferor knows or has reason to know has made a false

statement in order to become a transferee); Minn. Stat. § 624.7132, subd. 15(a)(4) (making a false

statement in order to become a transferee of a pistol or SAMSAW knowing or having reason to

know the statement is false); and Minn. Stat. § 624.7133 (purchasing or obtaining a firearm on

behalf of or for transfer to an ineligible person).

        C.      Fleet Farm Sold 13 Guns to Straw Purchaser Sarah Elwood During a 12-
                Month Period in 2020 and 2021, and These Firearms Continue to Cause Harm
                in the Wrong Hands.

        53.     Starting in May 2020 through May 2021, Sarah Elwood, along with two co-

conspirators, straw purchased 97 firearms from 9 different licensed gun dealers in Minnesota.

Elwood regularly purchased firearms and sold them to third parties for a profit of about $100 per

firearm. See Affidavit of Cory J. Shelton, Dkt. No. 1-1, U.S. v. Sarah Jean Elwood, Case. No. 21-

CR-00147 (D. Minn. June 1, 2021). Elwood regularly sold firearms for cash to a co-conspirator,

who then provided the guns to others in exchange for cash or discounts on high-potency, expensive

marijuana. Id.; see also Plea Agreement, Dkt. No. 133, U.S. v. Geryiell Lamont Walker, Case No.

21-CR-00147 (D. Minn. Mar. 16, 2022). Elwood’s co-conspirator told the ATF that he knew the


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firearms purchased by Elwood were being trafficked for criminal activity and that he “did not

care.” Affidavit of Cory J. Shelton at ¶ 37, Dkt. No. 1-1, U.S. v. Sarah Jean Elwood, Case. No.

21-CR-00147 (D. Minn. June 1, 2021).

       54.     Fleet Farm sold 13 firearms to Elwood in the 12-month span from June 2020 to

May 2021. Fleet Farm’s sales to Elwood are identified in the chart below, with purchases of

multiple firearms on the same days highlighted:

                         Straw                                                         Serial
       Store                                  Firearm Make, Model, Caliber
                      Purchase Date                                                  Number
 Fleet Farm                6/20/2020     Century Arms TP9SF 9mm                     20BH09180
 Fleet Farm                7/30/2020     Taurus G2C 9mm                             ABD463393
 Fleet Farm                 1/4/2021     Taurus Spectrum 380 Auto                     1F033220
 Fleet Farm                1/11/2021     Taurus PT111G2A 9mm                        ABH838724
 Fleet Farm                1/31/2021     Taurus Spectrum 380 Auto                     1F024926
 Fleet Farm                1/31/2021     Taurus Spectrum 380 Auto                     1F033065
 Fleet Farm                3/15/2021     Springfield XDS 9mm                         BA181757
 Fleet Farm                 5/1/2021     Ruger EC9S 9mm                              459-15215
 Fleet Farm                 5/1/2021     Smith & Wesson M&P 9 Shield Plus 9mm          JFY6090
 Fleet Farm                 5/6/2021     Glock 19 9mm                                BTNN877
 Fleet Farm                 5/6/2021     Ruger 5 7 5.7x28                            642-13405
 Fleet Farm                5/12/2021     Glock 17 9mm                                BTMG955
 Fleet Farm                5/12/2021     Ruger 5 7 5.7x28                            642-12901

       55.     As shown in the chart above, Fleet Farm sold multiple handguns in the same day to

Elwood on four different occasions, including three days in which Fleet Farm sold her multiple

handguns mere days apart in early May 2021 (May 1, May 6, and May 12). The timing of Fleet

Farm’s sales of guns to Elwood is illustrated in the following timeline:




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of making false statements during the purchase of firearms on December 28, 2021. See Plea

Agreement and Sentencing Stipulations, Dkt. No. 97, U.S. v. Sarah Jean Elwood, Case No. 21-

CR-00147 (D. Minn. Dec. 28, 2021). As part of her plea agreement, Elwood admitted that the

United States could prove that she straw purchased all of these 97 firearms for profit. See Plea

Agreement and Sentencing Stipulations, Dkt. No. 97, U.S. v. Sarah Jean Elwood, Case No. 21-

CR-00147 (D. Minn. Dec. 28, 2021). On September 14, 2022, Elwood was sentenced to serve 18

months in prison based on her straw purchasing misconduct. See Amended Judgment, Dkt. No.

178, U.S. v. Sarah Jean Elwood, Case No. 21-CR-00147 (D. Minn. Sept. 16, 2022).

       60.     Even after the federal criminal actions against Elwood and her two co-conspirators,

12 of the 13 guns Fleet Farm sold to Elwood are still not recovered by law enforcement, are

unaccounted for, and pose an ongoing danger to the health and safety of Minnesotans. On July 7,

2021, Orlando Lanell Holden was caught by police with the Taurus Spectrum .380 caliber pistol

that Fleet Farm sold to Elwood on January 4, 2021, serial number 1F033220, after allegedly using

it to threaten someone in public. See Complaint, State v. Holden, No. 27-CR-21-16811 (Hennepin

Cty. Dist. Ct. Sept. 8, 2021). Holden is ineligible to possess firearms due to a prior juvenile

conviction for first-degree aggravated robbery and has been charged with second-degree assault

and possession of a firearm by a prohibited person. See id. Police recovered this weapon 184 days

after Fleet Farm sold it to Elwood.

       61.     By engaging in the sale and transfer of firearms to Elwood under the circumstances

described above, Fleet Farm knowingly violated, and/or aided and abetted Elwood in the violation

of numerous laws and regulations, including 18 U.S.C. § 922(a)(1) (engaging in the business of

dealing in firearms without a license); 18 U.S.C. § 922(a)(6) (knowingly making a false statement

in connection with the acquisition of a firearm); 18 U.S.C. § 922(m) (knowingly making false




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entries in records required to be kept by dealer); 18 U.S.C. § 923(a) (engaging in the business of

dealing firearms without a license); 18 U.S.C. § 924(a)(1)(A) (knowingly making a false statement

or representation concerning information to be kept in the records of an FFL); 18 U.S.C.

§ 924(a)(1)(D) (willfully violating the federal Gun Control Act); 18 U.S.C. § 924(a)(3) (licensee

knowingly making a false statement or representation concerning information to be kept in records

of an FFL); 27 C.F.R. § 478.21(a) (failing to ensure completion of forms in accordance with form

instructions); 27 C.F.R. § 478.124(c)(1) and (c)(5) (failing to ensure accurate completion of ATF

Form 4473 before the transfer of a firearm); Minn. Stat. § 624.7132, subd. 15(a)(2) (transferring a

pistol or SAMSAW to a person the transferor knows or has reason to know has made a false

statement in order to become a transferee); Minn. Stat. § 624.7132, subd. 15(a)(4) (making a false

statement in order to become a transferee of a pistol or SAMSAW knowing or having reason to

know the statement is false); and Minn. Stat. § 624.7133 (purchasing or obtaining a firearm on

behalf of or for transfer to an ineligible person).

III.    MINNESOTA GUN TRAFFICKING AND GUN VIOLENCE ROSE DURING THE COVID-19
        PANDEMIC WHEN FLEET FARM SOLD FIREARMS TO STRAW PURCHASERS.

        62.     Of the different ways that firearms can get into the hands of criminals, “straw

purchasing” is one of the most prevalent and concerning. The Bureau of Alcohol, Tobacco,

Firearms, and Explosives (ATF) has identified straw purchasing as the most common channel for

the diversion of firearms into the black market and illegal gun trafficking schemes, accounting for

thousands of trafficked guns every year. 7




7
  Following the Gun: Enforcing Federal Laws Against Firearms Traffickers at xi, Department of
the Treasury, Bureau of Alcohol, Tobacco, and Firearms (June 2000), available at
https://perma.cc/PYK2-SXSU.



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       63.     As described above, the ATF assists local law enforcement with criminal

investigations by tracing firearms recovered by local police in connection with criminal

investigations back to their first retail seller. Data published by the ATF shows that more and

more guns are being recovered by police in crimes and being traced back to firearms dealers in

Minnesota. 4,605 firearms recovered in Minnesota were traced by the ATF to their first retail

seller in 2021, including 3,417 pistols and 2,159 9mm caliber guns. 8 These numbers are part of

an upward trend of the number of crime guns in Minnesota traced by the ATF: 4,072 firearms were

traced in 2020 9 and 4,112 firearms were traced in 2019. 10

       64.     One key indicator showing how illegal gun purchases lead to crime is the “time to

crime” associated with the crime gun trace—i.e., how quickly the gun was used in, or connected

to, a crime after being purchased. The number of Minnesota crime guns with very short times to

crime has grown exponentially in recent years. The following chart shows how many crime guns

were recovered by police in Minnesota and traced by the ATF within six months or less of retail

purchase:




8
 Bureau of Alcohol, Tobacco, Firearms, and Explosives, Firearms Trace Data: Minnesota – 2021,
https://perma.cc/P3K5-VFA4.
9
 Bureau of Alcohol, Tobacco, Firearms, and Explosives, Firearms Trace Data: Minnesota – 2020,
https://perma.cc/HA2A-3V3X
10
  Bureau of Alcohol, Tobacco, Firearms, and Explosives, Minnesota Data Source: Firearms
Tracing System (2019), available at https://perma.cc/7VPN-49QG.



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 Year             Time to Crime of Six Months Percentage of Crime Guns Recovered
                  or Less                     Within Six Months of Purchase
 2019 11          314                         7.6%

 2020 12          593                               14.6%

 2021 13          843                               18.3%



        65.     From 2019 to 2021, this data shows a 168% increase in Minnesota crime guns being

recovered with a time to crime of six months or less, with these firearms now constituting nearly

20% of all crime guns traced by the ATF in Minnesota. National statistics similarly show a 90%

increase from 2019 to 2020 in crime guns being recovered in 6 months or less 14:




11
  Bureau of Alcohol, Tobacco, Firearms, and Explosives, Minnesota Data Source: Firearms
Tracing System (2019), available at https://perma.cc/7VPN-49QG.
12
  Bureau of Alcohol, Tobacco, Firearms, and Explosives, Firearms Trace Data: Minnesota – 2020,
https://perma.cc/HA2A-3V3X
13
  Bureau of Alcohol, Tobacco, Firearms, and Explosives, Firearms Trace Data: Minnesota – 2021,
https://perma.cc/P3K5-VFA4.
14
  Jeff Asher & Rob Arthur, The Data Are Pointing to One Major Driver of America’s Murder
Spike, The Atlantic (Jan. 10, 2022), https://perma.cc/95LY-3BDK.



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2021, with 80% of those homicides taking place in the seven-county Twin Cities metro area. 18

Gun suicides have particularly affected greater Minnesota, which has a gun suicide rate nearly

twice that of the Twin Cities metro area. 19

           68.    Black and Native American communities in Minnesota are disproportionately

impacted by gun violence. Black Minnesotan males aged 15-34 have a firearm homicide rate that

is 28 times higher than White males of the same age group. 20 Overall, Black Minnesotans are 12

times more likely to die by gun homicide than White Minnesotans, while Native Americans are 10

times more likely die by gun homicide. 21

           69.    Both nationwide and in Minnesota, firearm violence has increased so dramatically

that firearm deaths became the leading cause of death among children in 2020, overtaking motor

vehicle accidents, which had been the chief cause of child deaths for decades beforehand. 22

Firearms also cause a substantial number of injuries in Minnesota, with 811 Minnesotans on

average being wounded by guns every year. 23




18
  Christopher Ingraham, Minnesota gun deaths hit 20-year high, Minnesota Reformer (Sept. 19,
2022), https://perma.cc/ZJ25-D68G.
19
     Id.
20
    The Educational Fund to Stop Gun Violence, Minnesota Gun Deaths: 2019,
https://perma.cc/3VYP-PDHS.
21
    Everytown, Gun Violence in Minnesota (last updated Feb. 2020), available at
https://perma.cc/9CN6-8L7T.
22
   Dustin Jones, Firearms overtook auto accidents as the leading cause of death in children,
National Public Radio (Apr. 22, 2022), https://perma.cc/5TAT-V6QZ; Everytown, Gun Violence
in Minnesota (last updated Feb. 2020), available at https://perma.cc/9CN6-8L7T.
23
     EveryStat, https://everystat.org/.



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                                           COUNT I
                                         NEGLIGENCE

       70.     The State re-alleges all prior paragraphs of this Complaint.

       71.     At all relevant times, Defendants owed the State of Minnesota and its citizens the

general duty imposed on all persons and entities to not expose others to reasonably foreseeable

risks of injury. Defendants had a duty to exercise reasonable care in distributing and selling

firearms and to refrain from engaging in any activity creating reasonably foreseeable risks of injury

to others. A breach of such duty constitutes negligence.

       72.     Defendants failed to exercise reasonable care and breached their duty to the State

and its citizens by selling firearms they knew or should have known were destined for the illegal

stream of commerce and into the hands of persons ineligible to possess a firearm. Defendants’

failure to abide by their duty to exercise such reasonable care increased the risk of harm, including

the risks of prohibited firearm possession, firearm injuries, and death.

       73.     Defendants transacted firearms business with straw purchasers and traffickers like

Horton, Elwood, and others, even though Defendants knew, or consciously avoided knowing, that

these individuals were engaged in unlicensed dealing, firearms trafficking, and/or straw

purchasing.

       74.     Defendants further breached their duty by engaging in conduct that knowingly

violated, and aided and abetted the violation of, numerous federal laws and regulations, including

18 U.S.C §§ 922(a)(1), 922(a)(6), 922(m), 923(a), 924(a)(1)(a), and 924(a)(1)(D), 924(a)(3), and

27 C.F.R. §§ 478.21(a), 478.124(c)(1), and 478.124(c)(5).

       75.     Defendants further breached their duty by engaging in conduct that knowingly

violated, and aided and abetted the violation of, Minnesota law, including Minn. Stat. §§ 624.7132,

subds. 15(a)(2) and 15(a)(4), and 624.7133.



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       76.     Through the conduct described herein, Defendants have breached and continue to

breach Defendants’ duty of care to the State and its citizens.

       77.     Defendants are vicariously liable for the actions or inactions of Defendants’ agents

and/or employees while in the scope of their agency and/or employment.

       78.     As a direct and proximate result of Defendants’ negligent conduct described herein,

the State and its residents have suffered and will continue to suffer substantial injuries and

damages.

       79.     Defendants’ conduct, practices, and actions described in this Complaint constitute

multiple instances of negligence under Minnesota law.

                                        COUNT II
                                    NEGLIGENCE PER SE

       80.     The State re-alleges all prior paragraphs of this Complaint.

       81.     Under the law, and due to Defendants’ responsibilities as a federally licensed dealer

of an especially dangerous product, Defendants owed a duty of care to Minnesota citizens and the

State. These laws include, but are not limited to, the provisions of the federal Gun Control Act

(18 U.S.C §§ 921–931) and its implementing regulations (27 C.F.R. Part 478), and the Minnesota

Gun Control Act (Minn. Stat. §§ 624.71–624.7192).

       82.     The above laws and regulations are intended to curb firearm crime, prevent access

to firearms by persons prohibited from possessing them, and protect public safety. These laws and

regulations were designed to prevent illegal dealing in firearms by directing firearms commerce

through business licensed by the federal government.         These laws and regulations impose

obligations on licensed dealers to further their purpose.




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       83.     The State and its residents are within the class of persons meant to be protected by

these laws and regulations, and the injuries to the State and its citizens are of the nature that these

laws and regulations were designed to prevent.

       84.     Through the conduct described herein, Defendants have violated, and aided and

abetted the violation of, the laws and regulations referenced above, including 18 U.S.C

§§ 922(a)(1), 922(a)(6), 924(a)(1)(a), and 924(a)(1)(D), 27 C.F.R. §§ 478.21(a), 478.124(c)(1),

and 478.124(c)(5), and Minn. Stat. §§ 624.7132, subd. 15(a)(4), and 624.7133. In doing so,

Defendants have breached and continue to breach their duty of care to the State and its citizens.

Therefore, Defendants’ breach of the laws and regulations referenced above constitute negligence

per se for which Defendants are liable.

       85.     Defendants are vicariously liable for the actions or inactions of Defendants’ agents

and/or employees while in the scope of their agency and/or employment.

       86.     As a direct and proximate result of Defendants’ negligent conduct described herein,

the State and its residents have suffered and will continue to suffer substantial injuries and

damages.

       87.     Defendants’ conduct, practices, actions, and material omissions described in this

Complaint constitute multiple instances of negligence per se under Minnesota law.

                                        COUNT III
                                 NEGLIGENT ENTRUSTMENT

       88.     The State re-alleges all prior paragraphs of this Complaint.

       89.     At the time that Defendants made one or more firearm sales to Horton, Elwood,

and others, Defendants knew or reasonably should have known that these individuals were

engaged in unlawful straw purchasing or unlicensed dealings in firearms to prohibited persons or

for use in the commission of crimes.



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       90.     Defendants knew or reasonably should have known that these individuals’ straw

purchasing and/or unlicensed dealing in firearms created an unreasonable risk of harm to third

parties, including the citizens of Minnesota and the State itself, because a foreseeable and likely

consequence of those unlawful trafficking activities is gun violence resulting in serious injury or

death, as well as criminal activity.

       91.     Defendants had possession and control of the firearms that Defendants transferred

or caused to be transferred to the straw purchasers. Defendants knew or should have known that

Defendants’ employees or agents who transferred firearms or caused firearms to be transferred to

these straw purchasers were obliged to use their judgment to refuse to transfer firearms to a

transferee whom the employees and agents knew or should have known was involved in straw

purchasing and/or unlicensed dealing in firearms.

       92.     Defendants, by their employees and agents, knew or should have known that

firearms transferred to traffickers and straw purchasers would likely be used in a manner involving

an unreasonable risk of harm.

       93.     Firearms negligently entrusted by Defendants to traffickers and straw purchasers

have foreseeably been recovered in the possession of prohibited possessors or at crime scenes in

Minnesota, and many others are still unaccounted for.

       94.     Defendants are vicariously liable for the actions or inactions of Defendants’ agents

and/or employees while in the scope of their agency and/or employment.

       95.     As a direct and proximate result of Defendants’ conduct described herein, the State

and its residents have suffered and will continue to suffer substantial injuries and damages.

       96.     Defendants’ conduct, practices, actions, and material omissions described in this

Complaint constitute multiple instances of negligent entrustment under Minnesota law.




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                                         COUNT IV
                                   AIDING AND ABETTING

       97.     The State re-alleges all prior paragraphs of this Complaint.

       98.     The straw purchasers identified above each violated the law and thereby committed

the tort of negligence per se each time the straw purchasers made false statements in the course of

purchasing a firearm, as well as each time the straw purchasers sold, transferred, or otherwise

engaged in unlicensed dealing of firearms to individuals who are prohibited from owning or

possessing firearms.

       99.     Defendants knew or reasonably should have known that the individuals identified

above were committing the tort of negligence per se by engaging in straw purchasing and/or

unlicensed dealings in firearms to prohibited persons in violation of state and federal law, including

18 U.S.C §§ 922(a)(1), 922(a)(6), 924(a)(1)(a), and 924(a)(1)(D), 27 C.F.R. §§ 478.21(a),

478.124(c)(1), and 478.124(c)(5), and Minn. Stat. §§ 624.7132, subd. 15(a)(4), and 624.7133.

       100.    By selling multiple firearms to each of the straw purchasers identified above,

Defendants substantially assisted these straw purchasers in committing the tort of negligence per

se.

       101.    Defendants are vicariously liable for the actions or inactions of Defendants’ agents

and/or employees while in the scope of their agency and/or employment.

       102.    As a direct and proximate result of Defendants’ conduct described herein, the State

and its residents have suffered and will continue to suffer substantial injuries and damages.

       103.    Defendants’ conduct, practices, actions, and material omissions described in this

Complaint constitute multiple instances of aiding and abetting under Minnesota law.

                                          COUNT V
                                      PUBLIC NUISANCE

       104.    The State re-alleges all prior paragraphs of this Complaint.


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       105.    Minnesota Statutes section 609.74 provides, in part:

               Whoever by an act or failure to perform a legal duty intentionally
               does any of the following is guilty of maintaining a public nuisance,
               which is a misdemeanor:

                       (1) maintains or permits a condition which unreasonably
                       annoys, injures or endangers the safety, health, morals,
                       comfort, or repose of any considerable number of members
                       of the public; or

                       ***

                       (3) is guilty of any other act or omission declared by law to
                       be a public nuisance and for which no sentence is
                       specifically provided.

       106.    The State and its residents have a public right to be free from interference with

public safety, health, comfort, or repose. The State is empowered by equity and law to allege a

claim, and seek redress for, a public nuisance.

       107.    Through Defendants’ conduct in selling firearms to individuals that they knew or

should have known were engaged in straw purchasing and/or unlicensed dealing in firearms,

Defendants have intentionally maintained or permitted, or were a substantial factor in maintaining

or permitting, a public nuisance that has annoyed, injured, and endangered—and continues to

unreasonably annoy, injure, and endanger—the common right of public health, comfort, or repose

of considerable members of the public.

       108.    Defendants’ conduct foreseeably resulted in the illegal transfer of these firearms to

criminals and other prohibited persons in Minnesota. Some of the illegally transferred firearms

have been used in the commission of crimes or recovered by the police, while other firearms

remain unrecovered. Defendants’ conduct was, at the very least, a substantial factor in creating,

promoting, supporting, or supplying an illegal secondary market for firearms that contributed to

unlawful possession of firearms and firearm violence in Minnesota. Without Defendants’ conduct,



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firearm possession, misuse, injury, and death would not have been so widespread, and at least

some of the existing harm to Minnesotans caused by firearms would have been avoided.

       109.    Defendants’ conduct is widespread and persistent, and has created, is creating, and

will likely continue to create substantial ongoing harm to the State and its residents by

unreasonably interfering with the right of the general public to life, safety, health, the use and

enjoyment of property, the right to travel within Minnesota, and the right to attend school, all

without fear of gun violence. The unlawful proliferation of firearms interferes with rights common

to the general public, deprives Minnesota residents and visitors of the peaceful use of public streets,

sidewalks, parks, and other public places, interferes with commerce, travel, and the quality of daily

life, and endangers the health, welfare, peace, safety, well-being, convenience, and property of

considerable numbers of residents of, and visitors to, Minnesota. These harms are felt throughout

Minnesota and are borne disproportionately by vulnerable communities, including the Native

American and Black communities.

       110.    The State has incurred and continues to incur substantial costs from investigating,

monitoring, treating, policing, and remediating the misuse of firearms in Minnesota. The nuisance

created by Defendants’ illegal conduct continues to this day and, absent abatement or other relief,

will continue indefinitely.

       111.    Defendants’ conduct including knowingly violating and aiding and abetting the

violation of numerous federal laws and regulations, including 18 U.S.C §§ 922(a)(1), 922(a)(6),

922(m), 923(a), 924(a)(1)(a), 924(a)(1)(D), and 924(a)(3), and 27 C.F.R. §§ 478.21(a),

478.124(c)(1), and 478.124(c)(5).




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       112.    Defendants’ conduct also included knowingly violating and aiding and abetting the

violation of Minnesota law, including Minnesota Statutes sections 624.7132, subds. 15(a)(2) and

15(a)(4), and 624.7133.

       113.    Defendants’ conduct in maintaining or permitting a public nuisance has openly,

publicly, repeatedly, continuously, persistently, and intentionally violated Minnesota law, as

described throughout this Complaint. Defendants’ conduct is sufficiently pervasive that this

conduct cannot be adequately addressed or remedied by resort to criminal enforcement of

Minnesota Statutes section 609.74 or other criminal statutes. Defendants’ widespread interference

with public rights and privileges, and resulting endangerment of public health, requires the State

to seek injunctive and all other appropriate equitable relief against Defendants in order to abate

this public nuisance and remedy the resultant harm, both retrospectively and prospectively.

                                     REQUESTED RELIEF

       WHEREFORE, the State of Minnesota, by its Attorney General, Keith Ellison, respectfully

asks this Court to award judgment against Defendants, jointly and severally, as follows:

       1.      Declaring that Defendants’ acts described in this Complaint constitute negligence,

negligence per se, negligent entrustment, aiding and abetting negligence per se, and public

nuisance under Minnesota law, and permanently enjoining Defendants and their employees,

officers, directors, agents, servants, successors, assignees, affiliates, merged or acquired

predecessors, parent or controlling entities, subsidiaries, and all other persons acting in concert or

participation with them from the violative acts, practices, and conduct;

       2.      Awarding injunctive relief against Defendants requiring them to abate the public

nuisance they have created and undertake actions to correct their misconduct and prevent future

misconduct, including but not limited to:




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               a)      Ordering Defendants to submit to supervision by a court-appointed monitor,

                       whose responsibilities shall include, but not be limited to, monitoring of

                       Defendants’ sales practices through observation, records monitoring, and

                       random and repeated integrity-testing, and implementing corrective policies

                       and procedures, with the costs of the monitor to be paid by Defendants;

               b)      Ordering Defendants to require mandatory and ongoing training of all

                       personnel involved in the sale of firearms by a court-approved training

                       entity, with the costs of that training to be paid by Defendants;

               c)      Ordering Defendants to retain all trace requests received by the ATF for a

                       period of five years, to keep a record of all employees whose sales result in

                       a trace request, and to conduct heightened screening (as determined by the

                       monitor) of sales to individuals who have been the subject of trace requests

                       from the ATF;

               d)      Ordering Defendants to conduct heightened screening (as determined by the

                       monitor) of sales to individuals that make multiple purchases of firearms

                       from different store locations or within short, staggered periods of time;

               e)      Ordering Defendants to take corrective action to identify and assist in

                       recovering the remaining firearms that were sold to straw purchasers and

                       others identified as transferees of firearms as stated herein.

       3.      Enjoining Defendants and their employees, officers, directors, agents, successors,

assignees, affiliates, merged or acquired predecessors, parent or controlling entities, subsidiaries,

and all other persons acting in concert or participation with them from engaging in conduct in

violation of Minnesota law;




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       4.      Awarding judgment against Defendants, jointly and severally, for damages for

injury sustained as a result of Defendants’ repeated breaches of their duties in Minnesota;

       5.      Ordering Defendants, jointly and severally, to disgorge all profits from Defendants’

unlawful sales of firearms in Minnesota;

       6.      Awarding judgment against Defendants, jointly and severally, for monetary relief,

including but not limited to abatement, to the State pursuant to Minnesota law, the parens patriae

doctrine, and the general equitable powers of this Court, as necessary to remedy the harm and

injury to the State resulting from Defendants’ acts and omissions described in this Complaint;

       7.      Granting such further relief as provided by law or equity as the Court deems

appropriate and just.

                                        JURY DEMAND

       The State demands a jury trial for all issues pled herein triable by a jury.




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Dated: October 5, 2022                          Respectfully submitted,

                                                 KEITH ELLISON
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                                                 Attorneys for State of Minnesota


                      MINN. STAT. § 549.211 ACKNOWLEDGMENT

       The party on whose behalf the attached document is served acknowledges through its
undersigned counsel that sanctions, including reasonable attorney fees and other expenses, may be
awarded to the opposite party or parties pursuant to Minn. Stat. § 549.211.

                                              /s/ Eric J. Maloney
                                              ERIC J. MALONEY




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